            Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA
           v.
                                                          Criminal No. 19-09 (CKK)
    GLEN OMER VIAU,
           Defendant.


                                  MEMORANDUM OPINION
                                      (July 29, 2019)

          A federal indictment charges Defendant Glen Omer Viau with one count of making false

statements to the United States government, in violation of 18 U.S.C. § 1001(a)(1). These alleged

false statements concern the export of restricted United States Navy data to the People’s Republic

of China (“China”) during a business proposal to China’s naval force. Defendant has moved under

18 U.S.C. § 3142 to modify the conditions of his release so that he is permitted to travel to Vietnam,

Singapore, Thailand, and China for business reasons. Upon consideration of the briefing, 1 the

relevant legal authorities, and the record as a whole, the Court GRANTS IN PART AND

DENIES IN PART Defendant’s [33] Motion to Modify his Conditions of Release. The Court

will modify Defendant’s conditions of release so that he is permitted to travel to Vietnam,

Singapore, and Thailand for business purposes, providing that Defendant provide the Pretrial

Services Agency with an advance copy of his itinerary and that Defendant continue his weekly

check-ins with the Pretrial Services Agency. However, for the reasons explained below, the Court

will not permit Defendant to travel to China.


1
    The Court’s consideration has focused on the following documents:

      •   Glen Viau’s Mot. to Modify his Conditions of Release and Incorp. Mem. in Support, ECF
          No. 33 (“Def.’s Mem.”); and
      •   Gov.’s Mem. in Opp’n to Def.’s Mot. to Modify his Conditions of Release, ECF No. 35
          (“Gov.’s Opp’n”).
                                                  1
          Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 2 of 6




                                      I. BACKGROUND

       The Court draws on the briefing and the docket for certain relevant proceedings in this

matter. On January 8, 2019, Defendant was indicted on one count of making false statements in

violation of 18 U.S.C. § 1001(a)(1). Gov.’s Opp’n, ECF No. 35, 2; Indictment, ECF No. 4. Initially,

Defendant was released from the District of Columbia jail on a $50,000 cash bond and ordered to

reside in the District of Columbia and to check-in with the Pretrial Services Agency in person on

a weekly basis. Def.’s Mot., ECF No. 33, 1. In February, the Court modified the conditions of

Defendant’s release and allowed him to return to his family in Vancouver, Canada and to conduct

weekly check-ins telephonically with the Pretrial Services Agency. Id. On June 7, 2019, the Court

further modified Defendant’s conditions of release, allowing him to travel to designated locations

within Canada and Europe for family and business purposes with advance notice to the Pretrial

Services Agency. Id. at 2; June 7, 2019 Order, ECF No. 29.

       The Government did not object to any of the above modifications to the conditions of

Defendant’s release. Additionally, Defendant has been in compliance with the conditions of his

release, checking-in with the Pretrial Services Agency weekly by phone and attending scheduled

Status Hearings.

       Defendant now moves for a further modification of his conditions of release. Defendant

requests that he be allowed to travel to Vietnam, Singapore, Thailand, and China for business

purposes. The Government does not oppose his travel to Vietnam, Singapore, or Thailand. As

travel to those countries is not opposed, and the Court concludes that it can still be reasonably

assured of Defendant’s appearance, the Court GRANTS IN PART Defendant’s Motion and

permits his travel to Vietnam, Singapore, and Thailand for business purposes. Defendant should

provide an advance copy of his travel itinerary to the Pretrial Services Agency prior to any travel



                                                2
         Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 3 of 6




and should continue his weekly check-in with the Pretrial Services Agency. However, the

Government does oppose the modification of Defendant’s conditions of release to allow travel to

China. As such, the Court’s analysis focuses on Defendant’s request that he be allowed to travel

to China. The Court finds that the inclusion of a condition permitting Defendant’s travel to China

would not reasonably assure the appearance of Defendant as required.

                                     II. LEGAL STANDARD

       The touchstone of the pretrial detention inquiry is whether a defendant’s “release will not

reasonably assure the appearance of the person as required or will endanger the safety of any

other person or the community.” 18 U.S.C. § 3142(b). Imposition of a condition or combination

of conditions of release may be necessary to achieve such assurance. Id. § 3142(c). Failing that,

a defendant is detained until trial. See id. § 3142(a), (e); see also § 3142(d) (providing for

temporary detention in certain circumstances).

       In determining appropriate conditions of release, the Court takes the following factors into

consideration:

       (1) the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, a violation of section 1591, a Federal crime of
       terrorism, or involves a minor victim or a controlled substance, firearm, explosive,
       or destructive device;
       (2) the weight of the evidence against the person;
       (3) the history and characteristics of the person, including—
                 (A) the person’s character, physical and mental condition, family ties,
                 employment, financial resources, length of residence in the community,
                 community ties, past conduct, history relating to drug or alcohol abuse,
                 criminal history, and record concerning appearance at court proceedings;
                 and
                 (B) whether, at the time of the current offense or arrest, the person was on
                 probation, on parole, or on other release pending trial, sentencing, appeal,
                 or completion of sentence for an offense under Federal, State, or local law;
                 and

                                                  3
          Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 4 of 6




       (4) the nature and seriousness of the danger to any person or the community that
       would be posed by the person’s release. . . .

Id. § 3142(g). The defendant should be “subject to the least restrictive … condition, or combination

of conditions, [] that [the Court] determines will reasonably assure the appearance of the person as

required. Id. § 3142(c)(1)(B).

                                       III. DISCUSSION

        Defendant requests that he be allowed to travel to China for business purposes. Defendant

insists that if his request to expand his international travel to China is granted, his release

conditions will still “reasonably assure his appearance, reasonably assure the safety of any other

person and the community, and will continue to be the least restrictive means of achieving his

appearance, as required by statute.” Def.’s Mot., ECF No. 33, 2.

        Considering the Section 3142(g) factors, the Court concludes that Defendant should not

be permitted to travel to China pending his trial date.

       1. Nature and Circumstances of the Offenses Charged, and Weight of the Evidence
          Against the Defendant

       Under Section 3142(g), the Court must specifically consider that Defendant has been

indicted for making false statements to the United States. The parties dispute whether the

sentencing guidelines range for Defendant would be 0-6 months or 6-12 months. Def.’s Mot., ECF

No. 33, 8 (0-6 months); Pl.’s Mot., ECF No. 35, 6 n.3 (6-12 months). While either sentencing

range is relatively low, the nature of the charge is serious and could have effects on Defendant’s

business, which involves providing atmospheric diving suits and support to international

purchasers. Additionally, Defendant’s alleged false statements concerned the export of restricted

United States Navy data to China. Accordingly, the offense with which Defendant was charged

directly relates to his business ties to China. Because the charges against Defendant directly relate


                                                 4
          Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 5 of 6




to his business ties to China, the Court is concerned about allowing Defendant to travel to China

to conduct business.

       Moreover, while the Court is making no judgment about the merits of this case, the Court

notes that a grand jury has found probable cause to conclude that Defendant engaged in the

criminal activity of which he is accused. Moreover, the Government submits that there is

substantial evidence against Defendant including the specific data that Defendant allegedly sent or

caused to be sent to China, some of which contained the following distribution statement:

“Distribution authorized to U.S. government agencies only…” Pl.’s Opp’n, ECF No. 35, 7.

       Accordingly, the Court finds that the nature and circumstances of the offenses charged, as

well as the weight of the evidence against Defendant, strongly suggest that a condition allowing

Defendant to travel to China would not reasonably assure the appearance of Defendant as required.

       2. History and Characteristics of the Defendant, and the Nature and Seriousness of the
          Danger to Any Person or the Community That Would Be Posed by the Defendant’s
          Release

       Defendant has no prior criminal record and has complied with the conditions of his release

thus far. Additionally, considering his family and his business, Defendant has personal and

financial incentives to return to the United States for court appearances. The government is

seeking, and the Court is ordering, conditions of release based solely on risk of flight, not danger

to the community. As such, the final Section 3142(g) factor—the nature and seriousness of the

danger to any person or the community—has minimal relevance. United States v. Bikundi, 47 F.

Supp. 3d 131, 137 (D.D.C. 2014).

       However, the Court notes that Defendant is not a United States citizen and has no ties to

the District of Columbia. Moreover, Defendant has business ties to China and is alleged to have a

business relationship with the Chinese Navy. Defendant’s business ties to not only China



                                                 5
           Case 1:19-cr-00009-CKK Document 37 Filed 07/29/19 Page 6 of 6




generally, but to the Chinese military specifically, raise concerns about Defendant’s risk of flight

if allowed to travel to China. Moreover, the United States does not have an extradition treaty with

China.

         The Court is not convinced that any of the personal characteristics identified by Defendant

sufficiently mitigate the risk of flight posed by Defendant if allowed to travel to China, or the other

two factors weighing against him. At this time, Defendant is permitted to travel internationally to

a large number of countries in order to grow his business. But, Defendant’s business interests do

not outweigh the Court’s concerns about risk of flight as it relates to China.

                                        IV. CONCLUSION

         Upon consideration of all of the evidence and the factors set forth in 18 U.S.C. § 3142(g),

and the possible release conditions set forth in § 3142(c), the Court finds that Defendant’s

appearance is not reasonably assured if Defendant’s conditions of release are modified to allow

travel to China.

         Accordingly, for the foregoing reasons, the Court GRANTS IN PART AND DENIES IN

PART Defendant’s [33] Motion to Modify Conditions of Release. Defendant is permitted to travel

to Vietnam, Singapore, and Thailand for business purposes, provided that Defendant provide the

Pretrial Services Agency with an advance copy of his itinerary and continue his weekly check-ins

with the Pretrial Services Agency. However, Defendant is not permitted to travel to China.

         An appropriate Order accompanies this Memorandum Opinion.

                                                           /s/
                                                       COLLEEN KOLLAR-KOTELLY
                                                       United States District Judge




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